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                                                 NOTICE REGARDING DATA USAGE


      This email and attachment are considered Controlled Unclassiﬁed Information (CUI). The attached ﬁle provides the relevant
      human capital data responding to your original request. The data should be used only for the purpose(s) agreed to by the Oﬃce of
      Human Capital, and only in accordance with the Protocol for the Dissemination of Human Capital Data from the Oﬃce of Human
      Capital. Note: Human Capital and employee information changes regularly in response to scheduled personnel actions. We
      strongly caution you to conduct a quality check by comparing these data with what you, as our internal customer and contact,
      believe to be accurate for your program oﬃces and responsibility. Should you ﬁnd any discrepancies, please contact us before
      further distributing these data.

      This e-mail may contain personally identiﬁable information or other conﬁdential information that is privileged or otherwise
      protected from disclosure under applicable laws, policies, and agreements. This information should only be used for
      designated and authorized purposes. Do not further disseminate this information to other CFPB employees except those who
      are duly authorized to access the information. Do not disclose any human capital data outside of the Bureau without ﬁrst
      discussing such disclosure with Human Capital. To avoid accidental, inappropriate or unauthorized use of this data in the
      future, please notify the Human Capital Systems and Operations Team at
      CFPB_HCDataRequests@cfpb.gov if there is any reason to believe the data have been compromised.




      Thank you for helping us safeguard and protect the integrity of employee data. HR Data Insights and Solutions (HRDIS)
      Oﬃce of Human Capital CFPB_HCDataRequests@cfpb.gov




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Instructions

Read and heed the information in the tab labeled Data Usage Notice

In the tab labeled as Position Retention
Column A          Essential or Non-Essential      Enter either Essential or Non-Essential Retention Designation

Column B             Number to Retain             Enter the number of positions to be retained

Do not enter or alter any data in other columns

The tab labeled Employee Counts include refreshable pivot tables to provide division/office allocations and confirm that all positions have been flagged
Do not alter the pivot tables




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Retain/Release Scenario                                                Onboard Count - PP6 FY25

                  Division/Office              Sum of    Sum of                          Division/Office              Sum of
                                              Number to Number to                                                    Number on
                                               Retain    Release                                                        PD
  CFPB CENTRALIZED SERVICES                        0           5         CFPB CENTRALIZED SERVICES                          5
    CFPB CENTRALIZED SERVICES-HUMAN CAPITAL        0           5           CFPB CENTRALIZED SERVICES-HUMAN CAPITAL          5
  CONSUMER RESPONSE EDUCATION DIV                 20         129         CONSUMER RESPONSE EDUCATION DIV                  149
    CONSUMER RESPONSE                             16         112           CONSUMER RESPONSE                              128
    CONSUMER RESPONSE EDUCATION DIV                2           6           CONSUMER RESPONSE EDUCATION DIV                  8
    FINANCIAL EDUCATION                            2          11           FINANCIAL EDUCATION                             13
  DIRECTOR                                         5          81         DIRECTOR                                          86
    Legislative Affairs                            1           2           Legislative Affairs                              3
    Off of Policy Planning & Strategy              0          16           Off of Policy Planning & Strategy               16
    Office of Civil Rights                         1           8           Office of Civil Rights                           9
    Office of Fair Lending and Equal Opp           1          13           Office of Fair Lending and Equal Opp            14
    Office of Minority and Women Incl              1          13           Office of Minority and Women Incl               14
    OFFICE OF THE DIRECTOR                         1          29           OFFICE OF THE DIRECTOR                          30
  DIVISION OF ENFORCEMENT                         50         198         DIVISION OF ENFORCEMENT                          248
    DIVISION OF ENFORCEMENT                       50         198           DIVISION OF ENFORCEMENT                        248
  DIVISION OF SUPERVISION                         50         437         DIVISION OF SUPERVISION                          487
    DIVISION OF SUPERVISION                        0           2           DIVISION OF SUPERVISION                          2
    OFFICE OF SUPV POLICY AND OPS                  1         108           OFFICE OF SUPV POLICY AND OPS                  109
    SUPERVISION EXAMINATIONS                       1           0           SUPERVISION EXAMINATIONS                         1
    SUPERVISION MIDWEST REGION                     0          89           SUPERVISION MIDWEST REGION                      89
    SUPERVISION NORTHEAST REGION                   0          95           SUPERVISION NORTHEAST REGION                    95
    SUPERVISION SOUTHEAST REGION                  48          61           SUPERVISION SOUTHEAST REGION                   109
    SUPERVISION WEST REGION                        0          82           SUPERVISION WEST REGION                         82
  EXTERNAL AFFAIRS DIVISION                        2          39         EXTERNAL AFFAIRS DIVISION                         41
    COMMUNICATIONS                                 0          11           COMMUNICATIONS                                  11
    EXTERNAL AFFAIRS DIVISION                      0          13           EXTERNAL AFFAIRS DIVISION                       13
    INTERGOVERNMENTAL AFFAIRS                      0           5           INTERGOVERNMENTAL AFFAIRS                        5
    PRIVATE SECTOR ENGAGEMENT                      1           4           PRIVATE SECTOR ENGAGEMENT                        5
    PUBLIC ENGAGEMENT                              1           6           PUBLIC ENGAGEMENT                                7
  LEGAL DIVISION                                  27          60         LEGAL DIVISION                                    87
    GENERAL LAW AND ETHICS                         4          25           GENERAL LAW AND ETHICS                          29
    LAW AND POLICY                                 8          22           LAW AND POLICY                                  30
    LEGAL DIVISION                                 0          12           LEGAL DIVISION                                  12
    LITIGATION                                    14           0           LITIGATION                                      14
    OVERSIGHT                                      1           1           OVERSIGHT                                        2
  OPERATIONS DIVISION                             30         293         OPERATIONS DIVISION                              323
    ADMINISTRATIVE OPERATIONS                      5          28           ADMINISTRATIVE OPERATIONS                       33
    CHIEF DATA OFFICER                             0          10           CHIEF DATA OFFICER                              10
    FINANCE AND PROCUREMENT                        5          48           FINANCE AND PROCUREMENT                         53
    HUMAN CAPITAL                                  5          56           HUMAN CAPITAL                                   61
    OPERATIONS DIVISION                            1           8           OPERATIONS DIVISION                              9
    TECHNOLOGY AND INNOVATION                     14         143           TECHNOLOGY AND INNOVATION                      157
  OTHER PROGRAMS                                   1          33         OTHER PROGRAMS                                    34
    DIRECTOR'S FINANCIAL ANALYSTS                  0          29           DIRECTOR'S FINANCIAL ANALYSTS                   29
    OMBUDSMAN                                      1           4           OMBUDSMAN                                        5
  RESEARCH MONITORING AND REGULATIONS DIV         22         208         RESEARCH MONITORING AND REGULATIONS DIV          230
    Competition and Innovation                     0           9           Competition and Innovation                       9
    CONSUMER POPULATIONS                           3          42           CONSUMER POPULATIONS                            45
    MARKETS                                        4          36           MARKETS                                         40
    REGULATIONS                                   10          56           REGULATIONS                                     66
    RESEARCH                                       3          55           RESEARCH                                        58
    RESEARCH MONITORING AND REGULATIONS DIV        2          10           RESEARCH MONITORING AND REGULATIONS DIV         12
Grand Total                                      207        1483       Grand Total                                       1690

                                              Cross Check          0



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